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 7                         UNITED STATES DISTRICT COURT
 8                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9    UNITED STATES OF AMERICA,              No. CR 24-CR-168-MSC
10               Plaintiff,                  DEFENDANT MOUSTAPHA
                                             MOUSTAPHA’S NOTICE OF THE
11                    v.                     GOVERNMENT’S WEEKEND
                                             DISCLOSURE OF ITS INTENT TO
12    MOUSTAPHA MOUSTAPHA,                   CALL A CI AS A WITNESS AT
                                             TRIAL
13         Defendant.
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17         Mr. Moustapha, by and through his counsel of record,
18    hereby notices the Court of the following:                    minutes ago,
19    during a 2:00 p.m. conference call between defense counsel
20    and AUSAs Scott and Lachman, the government disclosed, for
21    the first time, its intent to call a CI as a trial witness
22    in its case-in-chief.          It did not disclose the CI’s
23    identity.
24         The government filed a witness list on August 8, 2024
25    (ECF 24) that did not disclose its intent to call a CI as
26    a witness.      Failure to include the CI on the filed witness
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 1    list cannot be attributed to legitimate security concerns,
 2    as the government knows that in cases where the government
 3    plans to call a CI as a witness, it will publicly file
 4    either (1) a redacted witness list or (2) an unredacted
 5    witness list that refers to the CI by a naming convention
 6    that conceals the CI’s identity from the public (e.g., CW-
 7    1).
 8          To date, Mr. Moustapha has received no CI discovery
 9    whatsoever.      The government has not even sought a
10    protective order that would allow it to disclose pertinent
11    information derived from the CI.               As a result, it has not
12    disclosed crucial information necessary to cross examine
13    the CI or assess the viability of potential trial
14    defenses, including critical pieces of information like:
15    (1) the extent to which the CI was utilized in the
16    government’s investigation; (2) benefits provided to the
17    CI; (3) promises made to the CI; (4) the CI’s prior
18    relationship with Mr. Moustapha and/or case agents; (5)
19    prior convictions or acts of moral turpitude by the CI;
20    (4) prior acts of dishonesty by the CI; (5) a forensic
21    copy of the device(s) that the CI allegedly used to
22    conduct unmonitored, case-related activities for the
23    government; (6) toll records or other records that would
24    corroborate information the CI provided to the government
25    during unmonitored cooperation (those interviews have not
26    been produced); (7) case related interviews of the CI; (8)
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 1    any ongoing or uncharged criminal activity by the CI; (9)
 2    the CI’s involvement in the charged conduct and whether
 3    that involvement predated his cooperation with the
 4    government; (10) Jencks material, including written
 5    communications with case agents (which the government
 6    indicated it has); and (11) CI-related Brady information,
 7    including prior times the CI was terminated from CI
 8    programs.
 9         The Court’s standing order required the government to
10    provide critical, case-related CI information within two
11    (2) weeks of Mr. Moustapha’s PIA.                It did not.       Nor did it
12    seek a protective order that would have allowed it to
13    disclose CI information in its possession or seek
14    permission from the Court to withhold CI information until
15    a later date.
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18                                      Respectfully Submitted,
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      Dated: August 10, 2024

21                                       __//s// Meghan Blanco________
                                        MEGHAN BLANCO
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                                        Attorney for
23                                      MOUSTAPHA MOUSTAPHA
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